
706 S.E.2d 252 (2011)
Maude RUMPLE
v.
Lynda J. DELELLIS.
No. 51P11.
Supreme Court of North Carolina.
March 10, 2011.
Lynda J. DeLellis, for DeLellis, Lynda J.
James E. Scarborough, for Rumple, Maude.

ORDER
Upon consideration of the petition filed on the 2nd of February 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of March 2011."
JACKSON, J. recused.
